            Case 2:20-cr-00156-RSM Document 261 Filed 12/02/21 Page 1 of 2




                                                   The Honorable Chief Judge Ricardo S. Martinez
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6                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
7                                       AT SEATTLE
8

9                                                           NO. CR20-0156 RSM
       UNITED STATES OF AMERICA,
10
                               Plaintiff,                   ORDER GRANTING STIPULATED
11                                                          MOTION TO MODIFY CONDITIONS OF
                                                            RELEASE BY REMOVING GPS
12                     v.
                                                            LOCATION    MONITORING
13                                                          CONDITION
       LISANDRE DOWELL-ENNIS,
14
                               Defendant.
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             THE COURT has considered the stipulated motion to Modify Conditions of Release
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     [Dkt. 260] to remove the condition of GPS location monitoring/curfew, along with all the
19   records and files in this case.
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             THE COURT FINDS that the circumstances are as set forth in the stipulated motion.
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     Accordingly,
22           THE COURT ORDERS that the appearance bond be amended/modified by striking the
23
     final paragraph of “Other Special Conditions”, which was added on October 28, 2021, and
24
     pertains to location monitoring with AGPS technology for curfew, and that all other conditions
25   remain in full force and effect.
      ORDER GRANTING STIPULATED MOTION TO MODIFY CONDITIONS                              THOMAS D. COE
                                                                                             Attorney at Law
      OF RELEASE                                                                               PO Box 10356
      Page - 1                                                                  Bainbridge Island, WA 98110
                                                                                              (206) 340-8816
           Case 2:20-cr-00156-RSM Document 261 Filed 12/02/21 Page 2 of 2




1           DONE this 2nd day of December, 2021.

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                                              A
                                              RICARDO S. MARTINEZ
5                                             CHIEF UNITED STATES DISTRICT JUDGE

6
     Presented by:
7
     /s/ Thomas D. Coe
8    By:
     THOMAS D. COE
9
     Attorney for Defendant Park Hung Quan
10

11   /s/ Casey S. Conzatti
     By:
12   CASEY S. CONZATTI
     Assistant United States Attorney
13

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      ORDER GRANTING STIPULATED MOTION TO MODIFY CONDITIONS                  THOMAS D. COE
                                                                                 Attorney at Law
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      Page - 2                                                      Bainbridge Island, WA 98110
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